06/27/25 14:34:36 RVC

Case 1:21-cv-00309-ELH

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IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT
WILL COUNTY, ILLINOIS — IN PROBATE
Estate of

DAVID JOHN BOSHEA

CASE No: 2029PR000183

ORDER APPOINTING REPRESENTATIVE OF DECEDENT?’S ESTATE - INTESTATE

On the verified petition of Ashley Boshea

for issuance of letters of
office.

IT IS ORDERED THAT:
L. Letters of office as dependent administrator

(administrator) (independent administrator) (administrator to collect)

are issued to Ashley Boshea

*2. The representative - file an inventory within 60 days.

Dated: June 17

Enter: Ce a

Attomey Name Alexandra R. Benigni
ARDC # 0335557

Firm Name Aronberg Goldgehn
Attorney for Ashley Boshea

yee

Address 225 W. Washington St., Ste. 2800
| City & zip Chicago, IL 60606
_ Telephone 312-755-3141

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* Strike if inapplicable

ANDREA LYNN CHASTEEN, CLERK OF THE CIRCUIT COURT OF WILL COUNTY

36D (Revised 12/16)
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